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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
7343 El Camino Real #185, Atascadero CA 93422

A true and correct copy of the foregoing document described MOTION AUTHORIZING TRUSTEE TO
COMPROMISE CONTROVERSY WITH RANDALL FOX AND ATLANTA FOUNDATION FOR
PUBLIC SPACES, LLC.; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF
SANDRA K. MCBETH will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner indicated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On April 26,
2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

United States Trustee (ND)                                                                  ustpregion16.nd.ecf@usdoj.gov
Joseph Bussone Attorney for Debtor                                                          jdbussone@gmail.com
Will Geer c/o Karen Grant                                                                   kgrant@silcom.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On April 26, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor
Patrick James Dennis
999 Suffolk Street
Cambria, CA 93428
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _______________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

 April 26, 2018                      Donna Earnest                                              /s/ Donna Earnest
 Date                                  Type Name                                                Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
